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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 1:08-cr-32-SPM/AK

ALBERTO TRAVIESA,
JOSE REYES,
YULIO RODRIGUEZ,
JULIO RODRIGUEZ,
and LEONEL ROMAN,

           Defendants.
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         ORDER GRANTING GOVERNMENT’S MOTION TO DISMISS

      THIS CAUSE comes before the Court upon the Government’s Motion to

Dismiss (doc. 286). This motion requests the dismissal of this case because the

insufficient evidence makes it unlikely that the Government could succeed in a

prosecution of this case. Accordingly, it is hereby ORDERED AND ADJUDGED

that the Government’s motion (doc. 286) is granted. This case is hereby

dismissed.

      ORDERED AND ADJUDGED this twenty-first day of July, 2009.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 Chief United States District Judge
